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 5

 6   Attorney for Mary Sue Weaver

 7
                                 UNITED STATES DISTRICT COURT
 8
                               EASTERN DISTRICT OF CALIFORNIA
 9

10

11   UNITED STATES OF AMERICA,           )                  Case No. 2:15-cr-00087-GEB
                                         )
12
                       Plaintiff,        )                  REQUEST AND [PROPOSED]
13                                       )                  ORDER RE: MODIFICATION
           v.                            )                  OF PRETRIAL RELEASE
14                                       )
15
     MARY SUE WEAVER,                    )
                                         )
16                     Defendant.        )
     ____________________________________)
17

18            With the Court’s permission, the defendant Mary Sue Weaver requests, and the
19   government does not oppose, the following modification to the defendant’s terms of
20   supervised release:
21            That the terms and conditions of defendant’s pre-trial release be modified to remove
22   Ms. Weaver from pretrial services supervision by the Eastern District Pretrial Services office.
23   All other terms and conditions of Ms. Weaver’s pre-trial release shall remain in effect.
24   ///
25   ///
26   ///
27   ///                                             1
28   ___________________________________________________________________________________________________

                REQUEST AND [PROPOSED] ORDER RE: MODIFICATION OF PRETRIAL RELEASE
        Case 2:15-cr-00087-TLN-DB Document 43 Filed 04/13/16 Page 2 of 2




 1

 2          The parties have conferred with pretrial services officer Steven Sheehan who agrees
 3   with this proposed modification.
 4

 5          IT IS SO STIPULATED.
 6

 7   DATED: April 12, 2016                                  /s/ William J. Portanova
                                                            ________________________________
 8
                                                            WILLIAM J. PORTANOVA
 9                                                          Attorney for Mary Sue Weaver

10
     DATED: April 12, 2016                                  /s/ Heiko P. Coppola
11
                                                            ________________________________
12                                                          HEIKO P. COPPOLA
                                                            Assistant United States Attorney
13
            IT IS SO ORDERED.
14

15
     DATED: April 12, 2016
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28   ___________________________________________________________________________________________________

               REQUEST AND [PROPOSED] ORDER RE: MODIFICATION OF PRETRIAL RELEASE
